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                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

LINDA MIGLIORI, et al.,                   :
                                          :
                  Plaintiffs,             :
                                          :
            v.                            :                   No. 5:22-cv-00397
                                          :
LEHIGH COUNTY BOARD OF ELECTIONS,         :
                                          :
                  Defendant.              :
__________________________________________

                                             ORDER


       AND NOW, this 1st day of February, 2022, upon consideration of Plaintiffs’ Emergency
Motion for Temporary Restraining Order, ECF No. 2, and following a telephone conference during
which oral argument was held on the motion, 1 IT IS HEREBY ORDERED THAT:
       1.      The parties are to confer and submit the following to Chambers no later than 5:00
               p.m. on Tuesday, February 1, 2022:
               a. A proposed Order that addresses the actions the Defendant will or will not take
                  with respect to certification of the election at issue.
               b. A joint stipulation, signed by both parties, that provides a proposed briefing
                  schedule and proposed deadlines for any and all submissions to be considered by
                  this Court.
                                                      BY THE COURT:



                                                      /s/ Joseph F. Leeson, Jr.___________
                                                      JOSEPH F. LEESON, JR.
                                                      United States District Judge




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        Attorneys Witold J. Walczak, Esq., Marian K. Schneider, Esq., Richard T. Ting, Esq., and
Steve Loney, Esq., participated on behalf of Plaintiffs. Attorney Lucas Repka, Esq., participated on
behalf of Defendant. Attorneys Josh Voss, Esq., and Adam Bonin, Esq., attended as non-speaking
observers on behalf of their clients David Ritter and Zac Cohen respectively.
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